             Case 2:17-cv-00327-TSZ Document 78 Filed 12/27/17 Page 1 of 6




 1                                               THE HONORABLE THOMAS S. ZILLY

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 7
                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE

10    HARMONY GOLD U.S.A., INC.,              CASE NO. 2:17-cv-00327-TSZ
                          Plaintiff,          PLAINTIFF HARMONY GOLD
11
                                              U.S.A. INC’S SURREPLY IN
            v.                                SUPPORT OF OPPOSITION TO
12
                                              MOTION FOR SUMMARY
      HAREBRAINED SCHEMES LLC,                JUDGMENT AND MOTION TO
13    HAREBRAINED HOLDINGS, INC.,             STRIKE PURSUANT TO LOCAL
      JORDAN WEISMAN, PIRANHA GAMES           RULE 7(G)
14    INC., INMEDIARES PRODUCTIONS,
      LLC, and DOES 1–10                      NOTE ON MOTION CALENDAR:
15                       Defendants.          DECEMBER 22, 2017
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                                                                         LAW OFFICES
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     MOTION TO STRIKE PURSUANT TO LOCAL                       1301 SECOND AVENUE, SUITE 2800
                                                                SEATTLE, WASHINGTON 98101
     RULE 7(G) (Case No. 2:17-cv-00327-TSZ)                  TEL (206) 407-2200 FAX (206) 407-2224
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 1          Pursuant to Local Rule 7(g), Plaintiff Harmony Gold U.S.A., Inc. respectfully asks this

 2   Court to strike: (1) the Harebrained Defendants’ Reply in Support of Defendant Piranha Games,

 3   Inc.’s Motion for Summary Judgment, in its entirety, because the Harebrained Defendants make

 4   an entirely new legal argument for the first time on reply; and (2) Paragraph 2 of the Declaration

 5   of Todd S. Fairchild, and the corresponding references to the same on page 9, lines 24-25

 6   through page 10, line 1, of defendant Piranha’s Reply in Support of Piranha’s Motion for

 7   Summary Judgment, because Piranha improperly introduces new (and misleading) evidence on

 8   reply. In the alternative to its requested relief under (2), above, Harmony Gold seeks leave to file

 9   the attached Supplemental Declaration of Jessica Stebbins Bina to clarify and respond to

10   testimony contained in the Fairchild Declaration.

11   I.     REQUEST TO STRIKE HAREBRAINED DEFENDANTS’ REPLY.

12          The Harebrained Defendants did not originally file a motion for summary judgment.

13   Instead, they merely joined in defendant Piranha’s motion. Dkt. 54. Piranha’s motion, in turn,

14   seeks summary judgment solely on the basis that Harmony Gold lacks standing to pursue this

15   action because it is not the owner or exclusive licensee of the copyrights it seeks to enforce. Dkt.

16   47. The Harebrained Defendants’ Reply, however, seeks summary judgment on an entirely new

17   basis—that the Harebrained Defendants’ designs are not substantially similar to Harmony Gold’s

18   copyrighted works. Dkt. 76 at 2-6.

19          Introduction of an entirely new legal theory on reply is wholly improper and especially

20   inappropriate in the summary judgment context. United States v. Cox, 7 F.3d 1458, 1463 (9th

21   Cir. 1993) (“party may not make new arguments in the reply brief”); Provenz v. Miller, 102 F.3d

22   1478, 1483 (9th Cir. 1996) (allowing new materials in a summary judgment reply without

23   affording opportunity to respond “would be unfair”). Accordingly, the Harebrained Defendants’

24   Reply brief should be stricken in its entirety. See Cox, 7. F.3d at 1463; see also, e.g., Pease &

25   Sons, Inc. v. Travelers Indem. Co. of Connecticut, No. C14-1562 TSZ, 2015 WL 12001271, at n.


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 1   2 (W.D. Wash. Jan. 16, 2015) (Zilly, J.) (new arguments first raised in reply will not be

 2   considered by the Court); Nw. Coal. for Alternatives to Pesticides v. U.S. E.P.A., No. C10-1919

 3   TSZ, 2014 WL 309168, at *4 (W.D. Wash. Jan. 28, 2014) (Zilly, J.) (granting motion to strike

 4   “new argument improperly raised for the first time in Intervenor’s reply”); Docusign, Inc. v.

 5   Sertifi, Inc., 468 F. Supp. 2d 1305, 1307 (W.D. Wash. 2006) (Zilly, J.) (granting motion to strike

 6   new evidence and arguments presented for the first time in reply).

 7            The Harebrained Defendants attempt to evade the well-established rule against raising

 8   new arguments on reply by claiming that they learned for the first time in Harmony Gold’s

 9   opposition brief that Harmony Gold is alleging infringement of its exclusive rights of

10   reproduction, distribution, display, and merchandizing, as opposed to the right to create

11   derivative works. Dkt. 76 at 2. This assertion is nonsense. Not only have the parties discussed

12   this issue for months leading up to this motion, see Dkt. 52 ¶¶ 4-7, but Harmony Gold’s

13   operative complaint seeks to validate these exact rights, see Dkt. 31 ¶ 37 (“Defendants have

14   infringed Harmony Gold’s copyrights to these warrior robots through their unauthorized

15   copying, distribution, and display of warrior robots that are substantially similar to those owned

16   by Harmony Gold”), and Harmony Gold seeks to further clarify the rights it seeks to enforce

17   through its currently pending motion to amend, see Dkt. 51. 1 Furthermore, and even were it

18   otherwise, the Harebrained Defendants cannot add a new substantive ground for summary

19   judgment—lack of infringement—to a motion for summary judgment based on standing. The

20   Harebrained Defendants’ Reply brief should be stricken.

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       Moreover, the suggestion that an exclusive license holder cannot sue for infringement of the rights of reproduction,
23   display, and distribution, merely because the alleged infringing work differs enough to constitute a derivative
     work—even if it remains “substantially similar” to the original work—is legally frivolous. Such a rule would
24   eviscerate copyright law and render all exclusive licenses that license less than the entire bundle of Section 106
     rights unenforceable. See 17 U.S.C. § 106; see also Minden Pictures, Inc. v. John Wiley & Sons, Inc., 795 F.3d 997,
25   1003 (9th Cir. 2015) (“It is established law under the 1976 [Copyright] Act that any party to whom such a right
     [under § 106] has been transferred — whether via an assignment or an exclusive license — has standing to bring an
     infringement action based on that right.”).

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 1   II.     REQUEST TO STRIKE PORTIONS OF PIRANHA’S REPLY AND FAIRCHILD
             DECLARATION.
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 3           In defendant Piranha’s Reply, and in the accompanying Fairchild Declaration, Piranha
 4   asserts that Harmony Gold should be denied Rule 56(d) discovery because it was not diligent in
 5   seeking that discovery. Specifically, Piranha’s counsel testifies, for the first time on reply, that
 6   “Ms. Stebbins Bina stated that Harmony Gold would not spend the time or resources necessary
 7   to obtain [critically important and relevant third party] documents unless defendants were to file
 8   a dispositive motion.” Dkt. 75 ¶ 2, see also Dkt. 74 at p. 9-10. This assertion is inaccurate, and
 9   is based on a misleading construction of a statement Ms. Bina made in the context of a settlement
10   discussion. See Ex. A ¶¶ 2-6. Harmony Gold respectfully requests the Court either strike Mr.
11   Fairchild’s new testimony, and its incorporation into Piranha’s Reply, or alternatively grant
12   Harmony Gold leave to respond through the attached proposed Supplemental Declaration of
13   Jessica Stebbins Bina. See Provenz, 102 F.3d at 1483 (when new evidence is submitted on reply,
14   opposing party should, at minimum, be given an opportunity to respond).
15   III.    CONCLUSION.
16           For the foregoing reasons, Harmony Gold requests the Court grant the relief requested in
17   this surreply.
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 1          DATED: December 27, 2017.             CALFO EAKES & OSTROVSKY PLLC

 2
                                                  By: s/ Damon C. Elder__________________
 3
                                                     Damon C. Elder, WSBA #46754
 4                                                   Andrew R.W. Hughes, WSBA #49515
                                                     1301 Second Avenue, Suite 2800
 5                                                   Seattle, WA 98101
                                                     Phone: (206) 407-2200
 6                                                   Fax: (206) 407-2224
                                                     Email: damone@calfoeakes.com
 7                                                            andrewh@calfoeakes.com
 8                                                LATHAM & WATKINS LLP
 9

10                                                By: s/ Jessica Stebbins Bina
                                                     Jessica Stebbins Bina
11                                                   10250 Constellation Blvd., Suite 1100
                                                     Los Angeles, CA 90067
12                                                   Telephone: (424) 653-5525
                                                     Facsimile: (424) 653-5501
13                                                   Email: jessica.stebbinsbina@lw.com
14                                                Attorneys for Plaintiff Harmony Gold U.S.A., Inc.
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 1                                   CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that on December 27, 2017, I electronically filed the

 3   foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

 4   such filing to the CM/ECF participants.

 5          DATED this 27th day of December, 2017.
 6
                                                            s/ Mary J. Klemz
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                                                              Mary J. Klemz
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